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                                        12/11/2024




                                        carla.umanaespertin@mrcooper.com
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                                                                               11/01/2024             OUR INFO
                                    RETURN SERVICE ONLY                                               ONLINE
                                    PLEASE DO NOT SEND MAIL TO THIS ADDRESS
                                    PO Box 818060                                                     www.rushmoreservicing.com
                                    5801 Postal Road
                                    Cleveland, OH 44181

                                                                                                      YOUR INFO
                                                                                                      LOAN NUMBER


                                                                                                      PROPERTY ADDRESS
     EULALIA E GONZALEZ                                                                               5561 E 4 AVE
     5561 E 4 AVE                                                                                     HIALEAH, FL 33013
     HIALEAH, FL 33013-0153




     Dear Eulalia E Gonzalez:

                             Changes to Your Mortgage Interest Rate on 12/1/24 and Payment on 1/1/25.

     Under the terms of your Adjustable Rate Mortgage (ARM), you had a 6 month period which your interest rate stayed the
     same. That rate ends on 12/1/24, so on that date your interest rate changes. After that, your interest rate and payment
     change every 6 months for the life of your loan. Your interest rate is scheduled to change again on 6/1/25, which will
     be reﬂected on the account information on your monthly billing statement.

                                                 Current Rate and Monthly Payment                  New Rate and Monthly Payment
                Interest Rate                                  12.440%                                        12.000%
                  Principal                                     $34.39                                         $38.69
                   Interest                                   $1,865.61                                       $1,799.28
                   Escrow                                      $485.85                                        $485.85
          TOTAL MONTHLY PAYMENT                               $2,385.85                                  $2,323.82 due 1/1/25
     Interest Rate: We calculated your interest rate by taking a published “index rate” and adding a certain number of
     percentage points, called the “margin.” Under your loan agreement, your index rate is the FTSE USD IBOR CONSUMER
     CASH FALLBACK- SIX MONTH and your margin is 7.140%. The FTSE USD IBOR CONSUMER CASH FALLBACK- SIX
     MONTH is published THE SIX MONTH FTSE CONSUMER CASH FALLBACK AS PUBLISHED DAILY BY FTSE.

     Rate Limits: Your rate cannot go higher than 15.440%, or lower than 8.440%, over the life of the loan. Your rate on the
     ﬁrst change cannot be increased by more than 7.000% or decreased by more than 0.000%. On all subsequent changes,
     your rate will not increase by more than 1.000% or decrease by more than 1.000%.

     New Interest Rate and Monthly Payment: The table above shows your new interest rate and new monthly payment.
     Your new payment is based on the FTSE USD IBOR CONSUMER CASH FALLBACK- SIX MONTH index, your margin of
     7.140%, your loan balance of $179,928.18, and your remaining loan term of 388 months.

     Prepayment Penalty: We will not assess a prepayment penalty at any time, in the event you would like to pay part or all
     of your mortgage balance.

     Please be advised, if your monthly payments are auto drafted from your bank account, changes to your monthly
     payment, per the terms of your Adjustable Rate Note, will be reﬂected in the amount deducted from your account.

     If you have any questions, your Dedicated Loan Specialist is Ariel Villela and can be reached at (877)-888-4623 or via mail
     at Lake Vista 4, 800 State Highway 121 Bypass, Lewisville, TX 75067. Our hours of operation are Monday through Friday
     from 7 a.m. to 8 p.m. (CT). Visit us on the web at www.rushmoreservicing.com for more information.

     Sincerely,

     Rushmore Servicing




     Rushmore ServicingSM and Mr. Cooper® are brand names for Nationstar Mortgage LLC.
     Please be advised this communication is sent for informational purposes only and is not intended as an attempt to
     collect, assess, or recover a claim against, or demand payment from, any individual protected by the U.S. Bankruptcy
     Code. If this account has been discharged in a bankruptcy proceeding, be advised this communication is for
     informational purposes only and not an attempt to collect a debt against you; however, the servicer/lender reserves
     the right to exercise the legal rights only against the property securing the loan obligation, including the right to
     foreclose its lien under appropriate circumstances. Nothing in this communication shall be construed as an attempt
     to collect against the borrower personally or an attempt to revive personal liability.
     If you are a successor in interest (received the property from a relative through death, devise, or divorce, and you are not a
     borrower on the loan) that has not assumed, or otherwise become obligated on the debt, this communication is for
     informational purposes only and is not an attempt to collect a debt from you personally.
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